      Case 1:15-cv-07433-LAP Document 1325-15 Filed 01/04/24 Page 1 of 14




                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

--------------------------------------------------X




                                                 .............................................
VIRGINIA L. GIUFFRE,

        Plaintiff,
v.
                                                                                                        15-cv-07433-RWS
GHISLAINE MAXWELL,

        Defendant.


--------------------------------------------------X



     REPLY IN SUPPORT OF MOTION TO REOPEN DEPOSITION OF PLAINTIFF
                           VIRGINIA GIUFFRE




                                                                                                 Laura A. Menninger
                                                                                                 Jeffrey S. Pagliuca
                                                                                                 HADDON, MORGAN, AND FOREMAN, P.C.
                                                                                                 East 10th Avenue
                                                                                                 Denver, CO 80203
                                                                                                 303.831.7364
          Case 1:15-cv-07433-LAP Document 1325-15 Filed 01/04/24 Page 2 of 14




                                                 TABLE OF CONTENTS

INTRODUCTION .......................................................................................................................... 1

ARGUMENT .................................................................................................................................. 2

I.    PLAINTIFF’S PRODUCTION OF KEY DOCUMENTS AFTER HER DEPOSITION
      NECESSITATES ADDITIONAL EXAMINATION ............................................................. 2

     A.      Plaintiff failed to identify her health care providers and produce their records prior to
             her deposition, despite this Court’s order ........................................................................ 2

     B.      Plaintiff failed to produce emails from her iCloud and Hotmail accounts....................... 4

     C.      Plaintiff failed to address issue of her employment records ............................................ 5

     D.      Newly obtained education records and other witness testimony contradict Plaintiff’s
             deposition ......................................................................................................................... 5

     E.      Plaintiff identified new witnesses in her Rule 26 disclosures after her deposition .......... 6

II. PLAINTIFF’S COUNSEL INSTRUCTED PLAINTIFF NOT TO ANSWER RELEVANT,
    NON-PRIVILEGED QUESTIONS IN HER FIRST DEPOSITION ...................................... 7

III. PLAINTIFF CONCEDES THAT HER ERRATA SHEET IS PROPERLY THE SUBJECT
     FOR RE-OPENED DEPOSITION.......................................................................................... 9

IV. RESTRICTIONS TO TWO HOURS AND VIA VIDEOTAPE UNJUSTIFIED ................... 9

CERTIFICATE OF SERVICE ..................................................................................................... 12




                                                                        i
       Case 1:15-cv-07433-LAP Document 1325-15 Filed 01/04/24 Page 3 of 14




        Defendant Ghislaine Maxwell submits this Reply to Plaintiff’s Opposition (“Response”)

to Motion to Reopen Deposition of Plaintiff (“Motion”), and as grounds therefore states as

follows:

                                             INTRODUCTION1

        Plaintiff concedes the reopening of her deposition based on (a) the late production of

records concerning Plaintiff’s medical and mental health treatment, (b) her unjustifiable refusal

to answer questions related to statements the media “got wrong,” (c) material edits to her

deposition testimony through her errata sheet. Plaintiff did not address her newly disclosed

employment records and thus it should be deemed admitted. Apparently, she still contests

questions regarding other items not disclosed until after her deposition, including (a) iCloud and

Hotmail emails, (b) school records from Forest Hills High School, Wellington High School and
                                                                                                   -
Survivors Charter school, and (c) witnesses newly identified in her Third and Fourth Revised

Rule 26 disclosures. There is no legally principled reason to exclude these topics during

Plaintiff’s reopened deposition and Ms. Maxwell should be permitted to examine Plaintiff based

on this information produced after her deposition although requested before.

        The other limitations proposed by Plaintiff are not appropriate. Due to the quantity of

documents and the number of topics, two hours will be insufficient to appropriately inquire.

Moreover, Plaintiff’s deposition should be in person; she chose to move to Australia from


-
Colorado during the pendency of this case and has been in the US for weeks attending witness

depositions and other litigation matters by her own choosing. Deposition by videoconference

will be extremely cumbersome to accomplish given the hundreds of pages of documents to be


1
  Defendant conferred with counsel for Plaintiff regarding this Motion prior to its filing. By email of May 8, 2016,
Mr. Pagliuca requested conferral regarding Plaintiff’s refusal to answer questions at her deposition. That conferral
was held on May 9 and May 10. Mr. Edwards offered, for example, to consider whether a verified representation by
Plaintiff all of the statements that the media “got wrong” would suffice instead of a re-opened deposition.

                                                         1
      Case 1:15-cv-07433-LAP Document 1325-15 Filed 01/04/24 Page 4 of 14




covered and which were necessitated by Plaintiff’s late disclosures and refusal to answer

questions at her first deposition.

                                               ARGUMENT

I.      PLAINTIFF’S PRODUCTION OF KEY DOCUMENTS AFTER HER
        DEPOSITION NECESSITATES ADDITIONAL EXAMINATION

        A.            Plaintiff failed to identify her health care providers and produce their
                      records prior to her deposition, despite this Court’s order

        Plaintiff concedes that numerous medical records were not produced until after her May

3rd deposition, to wit:

             Jane Doe 2




             Jane Doe 2




             Jane Doe 2




             x Jane Doe 2




             Jane Doe 2

             I

             I

             Jane Doe 2

             I

             Jane Doe 2

             I




                                                      2
       Case 1:15-cv-07433-LAP Document 1325-15 Filed 01/04/24 Page 5 of 14




         Furthermore, there remain numerous doctors from the relevant time frame for whom no

records have been provided. In addition to all of the treatment providers from 1999-2002, no

records have been provided by Plaintiff for:
                                                                                                      Jane Doe 2

             I

             I

             I

             I

             I    -
             I

             I
Menninger Decl., Ex. O.

         Plaintiff, while not opposing the reopening of the deposition for documents produced

after that date, writes to refute supposed “baseless suggestions of impropriety.” Yet, her

Response contains additional impropriety. Plaintiff repeatedly asserts that she has produced and

disclosed documents but her chart and her arguments neglect to mention that those documents

were only sought and produced after the deposition, indeed up to and including the very same

day she filed her Response on June 28. Her claim that she could not “remember” Dr. Donohue

or Judith Lightfoot until her deposition is hard to believe given she had consulted with them in

the days and weeks just before her Interrogatory Responses. Id.; Ex. D at 334-35. Further, all of

the 2015-2016 medical records from Colorado were only produced because the defense, not
2
   Defendant’s Interrogatories sought the identities and locations of Plaintiff’s health care providers, the dates of
treatment, the nature of the treatment, medical expenses to date, and releases for each. Inexplicably, despite this
Court’s Order to answer the interrogatory, Plaintiff still has not provided the dates of treatment, the nature of
treatment or any information concerning expenses for any of her providers.

                                                            3
      Case 1:15-cv-07433-LAP Document 1325-15 Filed 01/04/24 Page 6 of 14




Plaintiff, sent a subpoena to Dr. Olson and his hospital for records and then learned that Plaintiff

had been seen by other doctors there and secured a release which the defense sent to Plaintiff.

As detailed more fulsomely in the Reply in Support of Sanctions filed contemporaneously, the

late disclosures were not due to Ms. Giuffre and her attorneys going to “great lengths” to track

down records; they have only responded to requests for doctor’s records when the defense has

brought to their attention missing doctors and records. Jane Doe 2




       Given Plaintiff’s agreement to submit to questioning based on the late-disclosed records,

it is hardly worth the Court or counsel’s time to again correct the record as to each of Plaintiff’s

misstatements. In lieu, Ms. Maxwell hereby incorporates by reference her Reply in Support of

Motion for Sanctions which addresses many of Plaintiff’s misstatements concerning production

of her health care providers’ identities and their records.

       B.      Plaintiff failed to produce emails from her iCloud and Hotmail accounts

       Plaintiff objects to further questioning regarding emails from her iCloud and Hotmail

accounts and submits that Ms. Maxwell’s claims regarding these missing emails “are simply

false” because she “produced every relevant document from her iCloud account.” Resp. at 8.

Plaintiff ignores the most important fact: she produced them after the deposition and only after

Ms. Maxwell issued a subpoena to the email providers. The emails were produced on June 10,

more than one month after Plaintiff’s deposition. See Menninger Decl., Ex. K.


                                                              -
       Similarly, following Ms. Maxwell’s subpoena to Hotmail, that company has now

confirmed that Plaintiff has an active account with them and that the account has been used by
                                                  4
      Case 1:15-cv-07433-LAP Document 1325-15 Filed 01/04/24 Page 7 of 14




Plaintiff since the beginning of this case. Plaintiff concededly did not search that account for

responsive documents but has represented to this Court that she will sign the release provided by

Microsoft, obtain the records and search the account. Thus, any responsive emails from that

account likewise will not have been available at the time of Plaintiff’s deposition.

       Plaintiff does not argue the responsive emails are not relevant, nor can she. Thus, Ms.

Maxwell should be entitled to reopen Plaintiff’s deposition to inquire regarding those emails as



       C.
                                        -
well as any that are produced from the Hotmail account.

               Plaintiff failed to address issue of her employment records

       In her Response, Plaintiff did not address Ms. Maxwell’s request to reopen Plaintiff’s

deposition regarding late-disclosed employment records. Accordingly, the issue should be

deemed admitted and inquiry into Plaintiff’s employment based on the new records permitted.

       D.      Newly obtained education records and other witness testimony contradict
               Plaintiff’s deposition

       Plaintiff testified at her deposition that she began working at Mar-a-Lago during a break

from her GED classes, that she believed it was a summer job, and that while she cannot pinpoint

the exact date, it was to the best of her recollection in or about June 2000 when she was still 16


-
years old. Menninger Decl., Ex. D at 57. This Court ordered Plaintiff to produce her education

records and, mere days before her deposition, Plaintiff signed releases for some of the

institutions she attended in Florida. Defendant obtained records pursuant to those releases after

the deposition (despite having sought them by discovery request in February). The transcripts

from Royal Palm Beach and Forest Hills High School directly contradict Plaintiff’s story. In

fact, they are highly relevant because they show that Plaintiff was in school during the summer

of 2000, finishing on August 15, 2000, when she was 17 years old. Appropriate areas of inquiry

at a reopened deposition of Plaintiff would be matching her story up to the records and


                                                 5
       Case 1:15-cv-07433-LAP Document 1325-15 Filed 01/04/24 Page 8 of 14




demonstrating that she did not start working at Mar-a-Lago until she was 17 years old --- despite

her well-publicized claims that she was a “sex slave” for Jeffrey Epstein from the age of 15 years

old beginning in 1998.

          Furthermore, testimony from other witnesses in this case, including Plaintiff’s former

boyfriend Tony Figueroa, materially contradict Plaintiff’s claims. Mr. Figueroa testified on June

24 that he and Plaintiff were enrolled in an all-day high school and that they attended school

together every day and that Plaintiff was not working for Epstein. Menninger Decl., Ex. P.

Based on these newly discovered records, Mr. Figueroa confirmed that time period as October

2001 – March 2002, directly contradicting Plaintiff’s deposition testimony that she was a “sex

slave” for 4 years from 1998-2002 and that she was with Epstein constantly during that four year


-
period.

          Based on the newly discovered education records and other witness testimony concerning

those records, Ms. Maxwell should be entitled to question Plaintiff at her continued deposition

about those records. Ms. Maxwell lacked those records at the time of Plaintiff’s deposition

because Plaintiff refused to produce her education records, Ms. Maxwell had to file a Motion to

Compel and obtain a Court Order before Plaintiff would sign a release for the records.

Therefore, there is no basis for Plaintiff to object to a continued deposition regarding the newly

obtained records and witness testimony.

          E.     Plaintiff identified new witnesses in her Rule 26 disclosures after her
                 deposition

          Plaintiff does not address the fact that she added 28 new witnesses to her Rule 26

disclosures after her deposition.3 The new witnesses added by Ms. Maxwell to her Rule 26 list


3
   The only mention Plaintiff makes is asking the Court to deny Ms. Maxwell’s motion to strike the new witnesses.
Ms. Maxwell stated that her motion to strike would be by separate motion (Mot. at 10), thus there is no motion to
strike.

                                                        6
      Case 1:15-cv-07433-LAP Document 1325-15 Filed 01/04/24 Page 9 of 14




are almost entirely ones that were taken off Plaintiff’s list. Presumably, they have information

relevant to this case and Ms. Maxwell is entitled to question Plaintiff on these disclosures to

determine what, if any, relevant information these newly disclosed witnesses might have.

II.    PLAINTIFF’S COUNSEL INSTRUCTED PLAINTIFF NOT TO ANSWER
       RELEVANT, NON-PRIVILEGED QUESTIONS IN HER FIRST DEPOSITION

       Plaintiff’s counsel glosses over their instruction to Plaintiff not to answer questions at her

deposition regarding non-privileged issues.

       During her deposition, the following exchange occurred:

       Q: You did not read the articles published by Sharon Churcher about your stories
       to Sharon Churcher?
       A: I have read some articles about what Sharon Churcher wrote. And a lot of the stuff
       that she writes she takes things from my own mouth and changes them into her own
       words as journalists do. And I never came back to her and told her to correct anything.
       What was done was done. There was nothing else I can do.

       Q: So even if she printed something that were untrue you didn't ask her to correct
       it, correct?
       A: There was things that she printed that really pissed me off, but there was nothing I
       could do about it. It's already out there.

       Q: She printed things that were untrue, correct?
       A: I wouldn't say that they were untrue. I would just say that she printed them as
       journalists take your words and turn them into something else.

       Q: She got it wrong?
       A: In some ways, yes.

       Q: Did she print things in her articles that you did not say to her?
       MR. EDWARDS: I object and ask that the witness be given the opportunity to see the
       document so that she can review it and answer that question accurately. Otherwise she's
       unable to answer the question. I'm not going to allow her to answer.

       Q: Did Sharon Churcher print things that you did not say?
       MR. EDWARDS: I'm going to instruct my client not to answer unless you give her what
       it is that you're talking about that was printed. And she will tell you the answer, the
       accurate answer to your question. Just without the document to refresh her recollection
       and see it, she's not going to answer the question.

       Q: Did Sharon Churcher print things that you did not say?
       MR. EDWARDS: Same objection. Same instruction not to answer.
                                                 7
     Case 1:15-cv-07433-LAP Document 1325-15 Filed 01/04/24 Page 10 of 14




       Q: Did Sharon Churcher print things that you felt were inaccurate?
       MR. EDWARDS: Same objection. Same instruction. If she sees the document, she's
       going to answer every one of these questions.

       Q: Did any other reporter print statements that you believe are inaccurate?
       MR. EDWARDS: Same objection. Same instruction.

       Q: Did any reporter print statements about Ghislaine Maxwell that were
       inaccurate?
       MR. EDWARDS: Same objection. Same instruction.

Menninger Decl., Ex. D at 220-23.

       At no time did Plaintiff say she “could not remember” what Churcher “got wrong.” Mr.

Edwards refused to allow her to answer the question unless her recollection was “refreshed,”

even though she never said she lacked a recollection. This is a patently improper instruction not

to answer, as well as improper suggestion to his client that she needed to have a “refreshed”

memory by looking at articles from Ms. Churcher. The instruction not to answer was improper

and Plaintiff should be required to answer all questions regarding inaccuracies in the media

reports of this case. Indeed, it is hard to conceive of an area more directly relevant to this single-

count defamation case in which Ms. Maxwell has said that Plaintiff’s statements to the press

were lies, and now even Plaintiff is saying that the press “got it wrong”.

       Plaintiff’s counsel similarly would not allow Plaintiff to answer questions regarding her

communications with law enforcement, specifically regarding Ms. Maxwell. Ms. Maxwell

respectfully disagrees that this area should be off limits. Efforts by a Plaintiff to have another

party charged with a crime, including any statement made during the course of those efforts, are

clearly relevant, reflect bias and motive, and may be used for impeachment. There is no

privilege which attaches to a civil litigant’s prior statements to law enforcement and to the extent




                                                  8
       Case 1:15-cv-07433-LAP Document 1325-15 Filed 01/04/24 Page 11 of 14




any such statements exist, Ms. Maxwell should be permitted to inquire regarding the statements

and the circumstances of surrounding their issuance, during Plaintiff’s reopened deposition.

        Ms. Maxwell disagrees with Plaintiff’s contention regarding the identity of her expert but

agrees not to inquire into that topic during the reopened deposition in light of the upcoming

expert disclosure deadlines.

        In light of the clearly improper instructions not to answer non-privileged relevant

questions, Plaintiff’s deposition must be reopened.

III.    PLAINTIFF CONCEDES THAT HER ERRATA SHEET IS PROPERLY THE
        SUBJECT FOR RE-OPENED DEPOSITION

        Because Plaintiff concedes, as she must, that changes to her deposition testimony as

reflected on her errata sheet are proper areas of inquiry, Ms. Maxwell perceives no need for

additional argument regarding the materiality of Plaintiff’s changes although they were not based

on “misspellings and the like” as Plaintiff avers.

IV.     RESTRICTIONS TO TWO HOURS AND VIA VIDEOTAPE UNJUSTIFIED

        Ms. Maxwell has identified a significant number of areas of inquiry for reopened

deposition and two hours is insufficient to accomplish that goal. Ms. Maxwell seeks leave to

reopen Plaintiff’s deposition regarding belatedly disclosed records from:

           Jane Doe 2




           x        Email records from iCloud and Hotmail regarding interactions with the FBI
           x        School records regarding the time period of 1999-2002
           x        18 newly listed witnesses
           x        Any published news stories that Plaintiff concedes were inaccurate
           x        Plaintiff’s interactions with law enforcement regarding Ms. Maxwell.

                                                    9
     Case 1:15-cv-07433-LAP Document 1325-15 Filed 01/04/24 Page 12 of 14




       All of these are properly the subject of additional inquiry at a deposition and to address

them will require more than two hours. While Ms. Maxwell does not believe that seven hours

will be necessary, she did not use all of the first seven hours based on Plaintiff’s refusal to

answer relevant non-privileged questions and believes that she will be able to finish her

examination on these topics within a reasonable period of time, most likely between 4-5 hours.

       Further, such deposition should be done live and in person, not via videotape from

Australia. Video conference depositions are exceedingly difficult and cumbersome when

handling the number of records at issue here – medical records, school records, employment

records and emails, as well as press statements, errata sheets and the like. Counsel will not have

the ability to hand over documents to the witness as needed.

       Plaintiff argues that her childcare needs require her to be in Australia. Notably, Plaintiff

has spent several weeks in the U.S. attending in person the depositions of her former fiancé and

boyfriend in Florida (and calling them in advance of their testimony) and, upon information and

belief, attending to other litigation and personal matters. Plaintiff lived in Colorado at the time

she filed this litigation and made a decision to return to Australia after doing so. She and her

counsel failed to disclose relevant doctors and medical records, emails, employment and school

records in advance of her deposition, and she was instructed not to answer relevant, non-

privileged questions. She chose to change her deposition testimony after the fact.

       WHEREFORE, Ms. Maxwell respectfully requests a reopened deposition of Plaintiff to

include the topics of:

   1. Any documents disclosed after May 3 regarding:
         a. Plaintiff’s medical and mental care
         b. Plaintiff’s employment
         c. Plaintiff’s education
         d. Plaintiff’s emails from her iCloud and Hotmail accounts



                                                  10
     Case 1:15-cv-07433-LAP Document 1325-15 Filed 01/04/24 Page 13 of 14




   2. Any question she was instructed not to answer regarding:
         a. Inaccurate statements attributed to her in the press;
         b. Her communications with law enforcement about Ms. Maxwell;

   3. Any changes to her deposition testimony as reflected on her errata sheet.

       Ms. Maxwell asks the Court to deny Plaintiff’s request that the reopened deposition be

limited to two hours or occur via remote means. Finally, Ms. Maxwell requests costs incurred in

bringing this Motion based on counsel’s improper instructions not to answer relevant and non-

privileged questions.

Dated: July 8, 2016



                                                Respectfully submitted,



                                                /s/ Laura A. Menninger
                                                Laura A. Menninger (LM-1374)
                                                Jeffrey S. Pagliuca (pro hac vice)
                                                HADDON, MORGAN AND FOREMAN, P.C.
                                                150 East 10th Avenue
                                                Denver, CO 80203
                                                Phone: 303.831.7364
                                                Fax:     303.832.2628
                                                lmenninger@hmflaw.com

                                                Attorneys for Ghislaine Maxwell




                                              11
     Case 1:15-cv-07433-LAP Document 1325-15 Filed 01/04/24 Page 14 of 14




                              CERTIFICATE OF SERVICE

I certify that on July 8, 2016, I electronically served this REPLY IN SUPPORT OF
DEFENDANT’S MOTION TO REOPEN DEPOSITION OF PLAINTIFF VIRGINIA GIUFFRE
via ECF on the following:

Sigrid S. McCawley                        Paul G. Cassell
Meredith Schultz                          383 S. University Street
BOIES, SCHILLER & FLEXNER, LLP            Salt Lake City, UT 84112
401 East Las Olas Boulevard, Ste. 1200    cassellp@law.utah.edu
Ft. Lauderdale, FL 33301
smccawley@bsfllp.com
mschultz@bsfllp.com
                                          J. Stanley Pottinger
Bradley J. Edwards                        49 Twin Lakes Rd.
FARMER, JAFFE, WEISSING, EDWARDS,         South Salem, NY 10590
FISTOS & LEHRMAN, P.L.                    StanPottinger@aol.com
425 North Andrews Ave., Ste. 2
Ft. Lauderdale, FL 33301
brad@pathtojustice.com
                                          /s/ Nicole Simmons
                                          Nicole Simmons




                                         12
